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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                Case No. 87-cr-40070-JPG

 EUGENE A. FISCHER,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Eugene A. Fischer’s appeal of the

Court’s July 16, 2008, order (Doc. 951) dismissing his motion for a writ of audita querela as an

unauthorized second or successive motion under 28 U.S.C. § 2255. Pursuant to Federal Rule of

Appellate Procedure 22(b)(1), the Court construes Fischer’s notice of appeal as a request for a

certificate of appealability. See Ouska v. Cahill-Masching, 246 F.3d 1036, 1045 (7th Cir. 2001).

       A § 2255 petitioner may not proceed on appeal without a certificate of appealability. 28

U.S.C. § 2253(c)(1); see Ouska, 246 F.3d at 1045; Sveum v. Smith, 403 F.3d 447, 448 (7th Cir.

2005) (per curiam) (appeal of dismissal of successive collateral attack requires certificate of

appealability). A certificate of appealability may issue “only if the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); see Tennard

v. Dretke, 542 U.S. 274, 282 (2004); Ouska, 246 F.3d at 1045. To make such a showing, the

petitioner must “demonstrate that reasonable jurists could debate whether [the] challenge in [the]

habeas petition should have been resolved in a different manner or that the issue presented was

adequate to deserve encouragement to proceed further.” Ouska, 246 F.3d at 1046; accord

Tennard, 542 U.S. at 282; Slack v. McDaniel, 529 U.S. 473, 484 (2000) (certificate of

appealability should issue if the petitioner demonstrates “that reasonable jurists would find the
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district court’s assessment of the constitutional claims debatable or wrong.”) The Court finds

that no reasonable jurist could debate that Fischer’s motion for a writ of audita querela is an

unauthorized second or success § 2255 motion over which this Court does not have jurisdiction.

Accordingly, the Court DECLINES to issue a certificate of appealability.

IT IS SO ORDERED.
DATED: August 5, 2008

                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE




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